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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

JOSEPH D’AGOSTIN                                    )
               Plaintiff                            )
                                                    )              CIVIL ACTION NO.:
v.                                                  )              3:20-cv-01657-KAD
                                                    )
                                                    )
FITNESS INTERNATIONAL LLC                           )              February 12, 2021
D/B/A L.A. FITNESS                                  )
                   Defendant                        )
                                                    )

             MOTION TO QUASH PLAINTIFF’S NOTICE OF DEPOSITION
                         OF CORPORATE DESIGNEE

       Defendant Fitness International, LLC d/b/a L.A. Fitness (“L.A. Fitness”) and hereby moves

to quash Plaintiff’s notice of deposition for the Person Most Knowledgeable at L.A. Fitness. As

grounds, L.A. Fitness states that both the listed topics and the requested documents requested are

wildly disproportionate to and outside the scope of discovery pursuant to Federal Rule of Civil

Procedure 26(b)(1). Further, this subpoena creates an undue burden and a significant cost to the

Defendant. In addition, in seeking 49 categories of documents, Plaintiff ignores the agreed upon

limit of documents requests set forth in the Rule 26(f) Report, adopted by this Court. As such, the

portion of the subpoena requesting additional documents requests should be struck. Finally, to the

extent the subpoena requests persons most knowledgeable to testify on designated topics, this

notice misquotes the federal standard for 30(b)(6) deponents. The Defendant, under this rule, is

merely required to provide a deponent to testify as to information “known or reasonably available”

to the corporation. The Notice of Deposition therefore, should be quashed.

       In further support of this motion, L.A. Fitness relies upon and incorporates herein its

Memorandum of Law, as well as the affidavits of Robert A. Wilson and Benjamin Levites, Esq.
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       WHEREFORE, for the reasons set forth above, L.A. Fitness respectfully requests that this

Court GRANT its motion and QUASH Plaintiff’s notice of deposition of L.A. Fitness’s corporate

designee.

                                            Respectfully submitted,
                                            Defendant,
                                            FITNESS INTERNATIONAL, LLC
                                            D/B/A L.A. FITNESS
                                            By its attorneys


                                             Kevin J. O’Leary, ct30271
                                             Benjamin H. Levites, ct30481
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                              RULE 26(C)(1) CERTIFICATION

        Defense counsel hereby certifies that Coughlin Betke, LLP has in good faith conferred or
attempted to confer with other affected parties in an effort to resolve the dispute without court
action. The Defendant further refers to and incorporates the Affidavit of Benjamin Levites, Esq.
under Local Rule 37 filed herewith.

_________________________
Benjamin Levites (ct30481)

                                CERTIFICATE OF SERVICE

        I, Benjamin Levites, certify that a copy of this document was or will immediately be
mailed or delivered electronically on February 12, 2021 to all attorneys and self-represented
parties of record:

Frank J. McCoy, Jr., Esq.
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                                                    ___________________________________
                                                    Benjamin H. Levites (ct30481)

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